           Case 4:19-cr-40018-SOH Document 15 Filed 10/09/19 Page 1 of 1 PageID #: 31
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                                     TEXARKANA DIVISION

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United States of America                                   -8'*( Barry A. Bryant, U. S.Magistrate Judge
3/$,17,))                                                                  Sheri Sivley, Digital Recorder
                                                           5(3257(5
   $77< Graham Jones,AUSA
                                                                       Sheri Sivley
           Texarkana, AR                                   &/(5.

Lonnie Joseph Parker                                       &$6(12 4:19CR40018-001
'()(1'$17                                           INTERPRETER:
   $77< John Hardy, Retained
                                                             '$7(       October 9, 2019


                              $&7,21 Detention Hearing

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 3:05 pm   Court convenes.
           Alex Wynn for the Defendant. Graham Jones for USA.
           Witness, Chi Kim Parker, Defendant's wife, sworn in.
           Mr. Wynn's direct exam of Mrs. Parker. Exhibit 1 - Plane tickets to Germany, Exhibit 2-Conference itinerary and
           Exhibit 3 - Conference material listing Dr. Parker as speaker submitted.
           Exhibits 1-3 admitted for purposes of this hearing.
           Mr. Jones' cross examination of Mrs. Parker.
           Mr. Wynn's re-direct exam of Mrs. Parker.
           Witness excused.
           Mr. Jones' argument.
           Mr. Wynn's argument. Court discussion.
           Mr. Jones' argument.
           Mr. Wynn's argument. Court discussion.
           Court accepts Government's request for special conditions and denies the request in part.
           Court discussion over special conditions of release.
           Defendant requests for lawful work in Hot Springs, AR
           Government does not object to this request.
           Court discussion
           Defendant release on Appearance Bond and Order Setting Conditions of Release.
 3:55 pm   Court adjourned.
